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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

MICHAEL A. WOOD,

                      Petitioner,                :   Case No. 3:19-cv-304

       - vs -                                        District Judge Walter H. Rice
                                                     Magistrate Judge Michael R. Merz

TIM BUCHANAN, Warden,
  Noble Correctional Institution,

                                                 :
                      Respondent.


                ORDER DENYING APPOINTMENT OF COUNSEL


       This habeas corpus case is before the Court on Petitioner’s Motion for Appointment of

Counsel (ECF No. 19).

       Although the Criminal Justice Act, 18 U.S.C. § 3006A, allows for the appointment of

counsel in non-capital habeas cases, Congress has never fully funded the Act. Because of scarce

funds, the Court must reserve appointment for those cases in which it is mandated (trial and appeal

in criminal cases with possible jail sentences, death penalty habeas corpus cases, non-capital

habeas cases where an evidentiary hearing has been ordered. No hearing has been ordered in this

case and in fact the Magistrate Judge has filed a Report recommending dismissal.

       Accordingly, the Motion for Appointment of Counsel is DENIED.

May 6, 2020.

                                                            s/ Michael R. Merz
                                                           United States Magistrate Judge



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